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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



    UNITED STATES OF AMERICA

    v.                                              Crim. Action No. 1:21CR108

    MICHAEL FOY,

                         Defendant.




                                      JOINT STATUS REPORT

         Michael Foy and the United States, by and through their attorneys, respectfully submits this

Joint Status Report, in response to the Court’s Minute Order directing the parties to advise the Court

as to whether the parties have reached a plea agreement. See Minute Order, September 23, 2022.

                 The parties hereby advise that the parties are moving towards entering into a stipulated

trial agreement, pending the Court’s ruling on Mr. Foy’s Motion to Dismiss the Obstruction Charge.

ECF. No. 71. 1

         The stipulated trial agreement is a resolution reached in other January 6 cases 2 and one that

resolves the case short of a trial and permits Mr. Foy to preserve his appeal rights should the Court

deny his Motion to Dismiss. 3 The parties are available for a hearing on Mr. Foy’s Motion, on the

currently scheduled Pre-Trial Conference date of January 20, 2022, or prior to that date should the



1
  In that regard, counsel for the government will submit its opposition to the defendant’s Motion to
Dismiss on or before October 7, 2022.
2
  See e.g. United States v. David Judd, 1:21CR40 (TNM) and United States v. William Reid,
1:21CR316 (DLF)
3
  The government has not yet provided the agreement paperwork because as noted, the terms of the
stipulated trial agreement are contingent upon the Court’s ruling.
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Court prefer an earlier date for a Motions Hearing, if required by the Court. If the Court chooses to

decide that motion on the papers, the parties will proceed accordingly. If the Court denies the

defendant’s motion, the parties will likely request that the Court set a Stipulated Trial date for this

matter.


                                              Respectfully submitted,

                                              A. J. KRAMER
                                              FEDERAL PUBLIC DEFENDER

                                                     /s/
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                                                     /s/
                                              _______________________________
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